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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:18−cr−00012
                                                       Honorable Rebecca R. Pallmeyer
Jesus Ocampo
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 19, 2018:


       MINUTE entry before the Honorable Rebecca R. Pallmeyer: as to Jesus Ocampo:
By agreement, sentencing set for 11/1/2018 is stricken and re−set to 1/18/2019 at 11:30
AM. Mailed notice. (etv, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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